
45 So. 3d 543 (2010)
Thomas YOUNK, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D10-2770.
District Court of Appeal of Florida, Fifth District.
October 8, 2010.
Thomas Younk, Belle Glade, pro se.
No Appearance for Respondent.
PER CURIAM.
The petition for certiorari review is dismissed for lack of jurisdiction. See Graham v. State, 24 So. 3d 781 (Fla. 5th DCA 2009), and Williams v. State, 907 So. 2d 1224 (Fla. 5th DCA 2005).
DISMISSED.
ORFINGER, LAWSON and COHEN, JJ., concur.
